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 8                     UNITED STATES DISTRICT COURT

 9                   SOUTHERN DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,              )   Criminal No. I~ '2 tl Lr--t}~--
                                          )
11                     Plaintiff,         )   CONSENT TO RULE 11 PLEA
                                          )   IN A FELONY CASE BEFORE
12 v.                                     )   UNITED STATES MAGISTRATE
                                          )   JUDGE
13   Austin Thompson                      )
                                          )
14                     Defendant.         )
                                          )
15

16        I have been advised by my attorney and by the
17 United States Magistrate Judge of my right to enter my
18 plea in this case before a United States District
19   Judge.    I hereby declare my intention to enter a plea
20 of guilty in the above case, and I request and consent
21   to have my plea taken by a United States Magistrate
22   Judge pursuant to Rule 11 of the Federal Rules of
23   Criminal Procedure.
24        I understand that if my plea of guilty is taken by
25   the United States Magistrate Judge, and the Magistrate
26   Judge recommends that the plea be accepted, the
27 assigned United States District Judge will then decide
28 whether to accept or reject any plea agreement I may


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 1 have with the United States and will adjudicate guilt

 2 and impose sentence.
 3       I further understand that any objections to the
 4 Magistrate Judge's findings and recommendation must be
 5 filed within 14 days of the entry of my guilty plea.
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 7                 tA/w ,~4 16'
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 8   Dated:   ~6~16
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11
     Dated:   ~   NolJ_ 1 ¥
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14       The United States Attorney consents to have the
15 plea in this case taken by a United States Magistrate
16   Judge pursuant to Criminal Local Rule 11.1.
17
18

19   Dated:   i\/6f ff;
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